 

Case 1:20-cv-00024-JDL Document1 Filed 01/24/20 Pagelof4 PagelD#:1

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

UNITED STATES DISTRICT COURT

for the
District of Men a

Bang Division (20 JAN 2 OD oe

Case No.

 

' 7 ’ to be filled in by the Clerk 's Office
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Plaiohtiff(s)

(Write the full name of each plaintiff who is filing this complaint.

If the names ofall the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional

page with the full list of names.)
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Defendant(s)
(Write the full name of each defendant who is being sued. i the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5,2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be. filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

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4, Did you receive $50,000 or more in federal contract funds in the last year?

The Department acknowledges that it is subject to both state and federal anti-discrimination

laws.

4. Identity of everyone who has knowledge of the incident(s) in the complaint and who
assisted you in responding to this request for information and documents. For each
person identified, include name, address, title (if employee), summary of knowledge
the individual possesses, and identify how each individual came about their

knowledge.

The following individuals are knowledgeable about the incidents described above and
came about their knowledge through their positions with the Department:

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Sergeant Kevin Court, Close Unit Sergeant, Maine State Prison, 807 Cushing Rd.,

Warren, Maine 04864.
- As described above, Sgt. Court completed the incident report regarding the August

31, 2017 incident.

Gladys Cassese, former Close Unit Manager, Maine State Prison, 807 Cushing Rd.,

Warren, Maine 04864.
- As all relevant times, Ms. Cassese was the Unit Manager for the Close Unit and

the MSP. Ms. Cassese responded to Soucy’s attempt to informally resolve his
grievance regarding the August 31, 2017, incident.

Sergeant Thomas Averill, Close Unit Sergeant, Maine State Prison, 807 Cushing

Rd., Warren, Maine 04864.
- As described above, Sgt. Averill is knowledgeable about the August 31, 2017

incident.

Robert Costigan, Prison Administration Coordinator, Maine State Prison, 807

Cushing Rd., Warren, Maine 04864.
- As described above, Mr. Costigan responded on behalf of the Warden to Soucy’s

complaints regarding his television.

Deputy Warden Robert Walden, Maine State Prison, 807 Cushing Rd., Warren,

Maine 04864.
- As described above, Deputy Warden Walden responded to Soucy’s complaints

regarding his prisoner savings account.

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Officer Brandon Soper, Correctional Officer, Maine State Prison, 807 Cushing Rd.,

Warren, Maine 04864.
- As described above, Officer Soper is knowledgeable about the Baten and

storage of Soucy’s property on August 31, 2017.

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g. Vonda Faxon, Accounting Support Specialist, Maine State Prison, 807 Cushing

Rd., Warren, Maine 04864.
- As described above, Ms. Faxon responded to Soucy’s complaints regarding the

collection of restitution.

Ci.) Holly Howieson, BSN, RN, Health Services Coordinator, Maine Department of
Corrections, 111 State House Station Augusta, Maine 04333.
«As described above, Ms. Howieson responded to Soucy’s request to be transferred

to the ALU.

@ Thomas Howland, Correctional Care and Treatment Worker, Maine State Prison,
807 Cushing Rd., Warren, Maine 04864,
- CCTW Howland was Mr. Soucy’s caseworker at MSP. Mr. Howland is

knowledgeable about Mr. Soucy generally, his complaints regarding legal mail, and
the decision to transfer Mr. Soucy to MCC to participate in the RULE program.

i. Christopher Britting, Correctional Care and Treatment Worker, Maine Correctional
Center, 17 Mallison Falls Rd., Windham, Maine 04864.
- CCTW Britting is Mr. Soucy’s caseworker at MCC. Mr. Britting is
knowledgeable about events related to Mr. Soucy’s arrival and accommodation at

MCC.

k, Deputy Commissioner Ryan Thornell, Ph.D., Maine Department of Corrections,

111 State House Station Augusta, Maine 04333.
- As described above, Deputy Commissioner Thornell responded to Soucy’s
complaints regarding his transfer to MCC to participate in the RULE program.

The following individuals assisted in responding to this request by searching for and/or
providing documents, but are otherwise unlikely to have any knowledge of the incidents described

above:

L Cindy Norman, Business Analyst, Maine Department of Corrections, 111 State
House Station Augusta, Maine 04333.

m. Kelene Barrows, Special Assistant to the Commissioner, Maine Department of
Corrections, 111 State House Station Augusta, Maine 04333.

n. Adria L. Sawyer, Maine Regional IT Project Manager, Correct Care Solutions,
LLC, 151 Capitol Street, Suite 4, Augusta, Maine 04330.

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0. Austen Fenn, Office Associate II, Maine State Prison, 807 Cushing Rd., Warren,

Maine 04864.

p. Stacey Crafford, Close Unit Clerk, Maine State Prison, 807 Cushing Rd., Warren,
Maine 04864.

q. Sherri Black, Deputy Warden’s Secretary, Maine State Prison, 807 Cushing Rd.,
Warren, Maine 04864.

ie Captain Shawn Emerson, Grievance Review Officer, Maine Correctional Center,

17 Mallison Falls Rd., Windham, Maine 04864.
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